Case 2:05-cr-20180-SH|\/| Document5 Filed 06/08/05 Pagelon Page|DS .

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

UNITED STATES OF AMERICA

_vS_

CHRISTOPHER WILLIS
AKA JOHN COBB

 

ORDER OF DETENT|ON PEND|NG TRIAL

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Case No. 2:05cr20180-D

In accordance With the Bail Refonn Act, l8 U.S.C. § 3142(£), a detention hearing has been

held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions

of release and a detention hearing may be filed at a later date.

DlRECTlONS REGARD|NG DETENT|ON

CHRISTOPHER WILLIS

AKA JOHN COBB is committed to the custody of the Attomey General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or

being held in custody pending appeal. CI-IRISTOPHER WILLIS

AKA JOHN COBB shall be afforded a reasonable opportunity for private consultation with defense counsel. On order
of a Court of the United States or on request of an attorney for the government, the person in charge of the corrections
facility shall deliver the Defendant to the United States marshal for the purpose of an appearance in connection With

a Court proceeding

Date: June 8, 2005

 

TU M. PHAM

UNITED STATES MAGISTRATE JUDGE

 

STRICT COURT- WESTERN DISTRICT OF TENNESSEE

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UNITED STATE

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Honorable Bernice Donald
US DISTRICT COURT

